                      Case 3:25-mj-00774-ATB            Document 1         Filed 02/27/25        Page 1 of 2
AO 442 (REV. 12/85)


                                             United States District Court                                       FILED
                                                    Western District of Texas                               Feb 27 2025
                                                       El Paso Division                                    Clerk, U.S. District Court
                                                                                                           Western District of Texas


                                                                                                     By:            MG
                                                                                                                            Deputy
USA                                                                 §
                                                                    § CRIMINAL COMPLAINT
vs.                                                                 § CASE NUMBER: EP:25-M -00774(1) ATB
                                                                    §
(1) GERARDO ARREDONDO-VASQUEZ                                       §

                  I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about February 26, 2025 in El Paso county, in the WESTERN DISTRICT OF TEXAS

defendant did, being an alien to the United States, enter, attempt to enter, or was found in the United States after having

been previously excluded, deported, or removed from the United States without receiving permission to reapply for

admission to the United States from the Attorney General of the United States and the Secretary of Homeland Security,

the successor pursuant to Title 6, United States Code, Sections 202(3), 202(4), and 557



in violation of Title                 8              United States Code, Section(s)       1326



                  I further state that I am a(n) Border Patrol Agent and that this complaint is based on the following facts: "

The DEFENDANT, Gerardo ARREDONDO-Vasquez, an alien to the United States and a citizen of Mexico was

found at a residence near the 800 block of Nahua Rd. in Canutillo, TX in the Western District of Texas. From

statements made by the "

Continued on the attached sheet and made a part of hereof.



Sworn to before me and subscribed in my presence,                                     /S/ PORTILLO, ALEJANDRO
                                                                                    Signature of Complainant
                                                                                    Border Patrol Agent


February 27, 2025                                                               at EL PASO, Texas
File Date                                                                          City and State



ANNE T. BERTON                                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                                      Signature of Judicial Officer

                                                                                    OATH TELEPHONICALLY SWORN
                                                                                    AT 01:11 P.M.
                                                                                    FED.R.CRIM.P. 4.1(b)(2)(A)
                Case 3:25-mj-00774-ATB           Document 1        Filed 02/27/25      Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:25-M -00774(1)

WESTERN DISTRICT OF TEXAS

(1) GERARDO ARREDONDO-VASQUEZ

FACTS (CONTINUED)

DEFENDANT to the arresting agent, the DEFENDANT was determined to be a native and citizen of Mexico, without
immigration documents allowing him to be or remain in the United States legally. The DEFENDANT has been previously
removed from the United States to Mexico on August 18, 2021, through El Paso, Tx. The DEFENDANT has not
previously received the expressed consent from the Attorney General of the United States or the Secretary of Homeland
Security to reapply for admission into the United States.



Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:

The DEFENDANT has been granted 1 voluntary return, the last on May 15, 1999, through El Paso, TX.
The DEFENDANT has been removed 4 times, the last one being to MEXICO on August 18, 2021, through El Paso,
TX.

CRIMINAL HISTORY:

08/30/2008, El Paso, TX, Entry W/out Inspection, Time, Place not Designated(M), CNV, 12 days jail.
10/04/2014, El Paso, TX, Driving While Intoxicated(M), CNV, 20 days jail / $427 court cost.
10/05/2014, El Paso, TX, improper Entry by Alien(M), CNV, 89 days jail.
01/27/2021, El Paso, TX, Agg Assault Against Pub. Servant(F), DSM, Dismissed on 04/26/2021.
11/05/2021, El Paso, TX, Criminal Trespass(M), DSM, Dismissed on 05/23/2022.
